Argued September 26, 1949.
By summary convictions before a magistrate the respective defendants were sentenced to pay fines and costs. They each perfected appeals to the Court of Quarter Sessions of Somerset County, where the case *Page 91 
was heard de novo, and after the taking of evidence the court below entered judgments as follows: ". . . after hearing theevidence and the arguments of counsel, we find and adjudge thedefendants not guilty of the alleged violation of the compulsory attendance provisions of the School Code. The costs of this proceeding shall be paid by the Joint School District of Elk Lick Township-Salisbury Borough." (Italics supplied.)
The Commonwealth took appeals to this Court, and the appellees moved to quash the several appeals.
The appeals must be quashed. "After a hearing de novo by the court of quarter sessions [from a proceeding summary in character], there was a judgment by that court [which heard the case de novo] in language that cannot be misunderstood that the defendant was not guilty — a distinct and unequivocal judgment of acquittal.": City of Scranton v. Noll, 108 Pa. Super. 94,164 A. 850. See Commonwealth v. Kerr, 150 Pa. Super. 598,29 A.2d 340. The court below pronounced a distinct and unequivocal judgment of acquittal. From this the Commonwealth cannot appeal.
The several appeals are quashed.